










Opinion issued January 26, 2006











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00609–CV




RONALD X. GORDON, Appellant

V.

FLORA GODSEY, Appellee




On Appeal from the 234th District Court
Harris County, Texas
Trial Court Cause No. 2004-20453




MEMORANDUM OPINIONAppellant Ronald X. Gordon has neither established indigence, nor paid or
made arrangements to pay the clerk’s fee for preparing the clerk’s record.  See Tex.
R. App. P. 20.1 (listing requirements for establishing indigence), 37.3(b) (allowing
dismissal of appeal if no clerk’s record filed due to appellant’s fault).  After being
notified that this appeal was subject to dismissal, appellant Ronald X. Gordon did not
adequately respond.  See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal of
case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to pay or make
arrangements to pay the clerk’s fee.  All pending motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Keyes, and Hanks.


